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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 DENNIS QUINETTE,
    Plaintiff,
        v.                                   CIVIL ACTION FILE
                                             NO. 1:17-CV-1819-TWT


  DILMUS REED, et al.,


    Defendants.

                               OPINION AND ORDER


       This is a civil rights action. It is before the Court on the Defendants’

Motion to Dismiss [Doc. 24]. For the reasons set forth below, the Defendants’

Motion to Dismiss [Doc. 24] is DENIED.

                                   I. Background

       The Plaintiff Dennis Quinette is a former inmate at the Cobb County

Detention Center (the “Detention Center”).1 This case arises out of an injury

that the Plaintiff allegedly sustained as the result of being shoved by the

Defendant Dilmus Reed, a former Cobb County Sheriff’s Office employee who

worked at the Detention Center. The Defendants Chief Lynda Coker, Chief

Deputy Milton Beck, Colonel Donald Bartlett, Colonel Lewis Alder, Colonel

Janice Prince, and Colonel Roland Craig were members of the command staff at


       1
               First Am. Compl. ¶ 13.
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the Detention Center during the events underlying this lawsuit.2 The Defendant

Sheriff Neil Warren was the Cobb County Sheriff and was tasked with operating

the Detention Center.3 These Defendants are collectively referred to as the

“Command Staff Defendants.”

       On May 28, 2015, the Plaintiff was in custody at the Detention Center.

The Plaintiff alleges that he had recently been arrested and was undergoing the

booking and intake process at the jail.4 At the time of this incident, the Plaintiff

was housed in an intake holding cell.5 According to the Plaintiff, Reed opened

the door to his cell at 7:04 AM to escort another inmate into the cell.6 As Reed

was placing the other inmate in the cell, the Plaintiff stood in front of the cell

door and attempted to get Reed’s attention.7 According to the Plaintiff, he

wanted to make a phone call, and had stood at the cell door for a few minutes

to try to get Reed’s attention to request to do so. The Plaintiff alleges that he

respectfully attempted to flag down Reed, but Reed ignored him and started to

close the cell door.8 As the cell door was closing, the Plaintiff placed his hand on


       2
               Id. ¶¶ 3-8.
       3
               Id. ¶ 9.
       4
               Id. ¶ 14.
       5
               Id. ¶ 15.
       6
               Id. ¶ 17.
       7
               Id. ¶ 19.
       8
               Id. ¶ 21.

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the window of the cell door.9 According to the Plaintiff, he did not touch the door

with any force or try to prevent Reed from closing the door, and the door began

to latch closed.10

       Nevertheless, despite the Plaintiff’s calm and non-threatening demeanor,

Reed allegedly opened the door, took one large step forward, and, without

warning, forcefully thrust the Plaintiff with two hands toward the back of the

holding cell.11 The Plaintiff was thrown across the cell, landed on his left hip,

and began screaming in pain.12 Reed, ignoring the Plaintiff’s screams, closed the

cell door and walked away.13 Reed did nothing to attend to the Plaintiff’s

injury.14 Instead, he returned to the cell multiple times and made several

attempts to pull the Plaintiff up off the floor.15 Another officer then reported the

incident to medical officials at the Detention Center, and a nurse arrived to

attend to the Plaintiff seven minutes after he was thrown to the floor.16 The




       9
               Id. ¶ 23.
       10
               Id. ¶¶ 24-26.
       11
               Id. ¶ 35.
       12
               Id. ¶ 39.
       13
               Id. ¶ 40.
       14
               Id. ¶ 44.
       15
               Id. ¶¶ 45-53.
       16
               Id. ¶ 57.

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Plaintiff was ultimately transported to an emergency room, where he was

diagnosed with a broken hip.17 This entire incident was captured on video.18

       Reed was subsequently investigated for this incident.19 He admitted

during an internal affairs investigation that he “stepped into” the push, making

it more forceful.20 According to the Plaintiff, Reed also admitted that he used

this amount of force because he was mad at the Plaintiff.21 Reed claimed that he

used this force against the Plaintiff because he feared that the Plaintiff’s fingers

would get caught in the closing door.22 The internal affairs investigation

ultimately concluded that Reed failed to comply with the policies and procedures

of the Cobb County Sheriff’s Office by utilizing an unreasonable and unneces-

sary amount of force against the Plaintiff.23 Reed was then terminated from

Cobb County Sheriff’s Office.24




       17
               Id. ¶ 58.
       18
               Id. ¶ 18. This video was manually filed with the Court. [Doc. 22].
The gratuitous, unprovoked, and malicious violence of Reed can only be
appreciated by watching the tape.
       19
               Id. ¶ 59.
       20
               Id. ¶ 42.
       21
               Id. ¶ 60.
       22
               Id. ¶ 61.
       23
               Id. ¶ 65.
       24
               Id. ¶ 66.

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       According to the Plaintiff, Reed had a lengthy disciplinary history during

his time with the Cobb County Sheriff’s Office. He had previously been the

subject of twelve internal affairs investigations, and six of those investigations

were concluded to be “founded.”25 Three of those investigations were for use of

excessive force.26 The Plaintiff alleges that many of the Command Staff

Defendants were involved in these prior disciplinary actions and had knowledge

of Reed’s history.27 However, despite this history, Reed was not terminated from

his position until the incident in question occurred.28

       On May 19, 2017, the Plaintiff filed this action. In his First Amended

Complaint, the Plaintiff alleges two claims against Reed. First, he asserts a

claim under 42 U.S.C. § 1983 for the use of excessive force in violation of the

Fourth and Fourteenth Amendments. Second, he asserts a state law claim for

assault and battery. The Plaintiff asserts a claim for violation of 42 U.S.C. §

1983 for supervisory liability against the Command Staff Defendants in their

individual capacities. The Defendants now move to dismiss.




       25
               Id. ¶ 68.
       26
               Id.
       27
               Id. ¶¶ 98, 107, 119.
       28
               Id. ¶ 70.

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                                   II. Legal Standard

       A complaint should be dismissed under Rule 12(b)(6) only where it

appears that the facts alleged fail to state a “plausible” claim for relief.29 A

complaint may survive a motion to dismiss for failure to state a claim, however,

even if it is “improbable” that a plaintiff would be able to prove those facts; even

if the possibility of recovery is extremely “remote and unlikely.”30 In ruling on

a motion to dismiss, the court must accept the facts pleaded in the complaint as

true and construe them in the light most favorable to the plaintiff.31 Generally,

notice pleading is all that is required for a valid complaint.32 Under notice

pleading, the plaintiff need only give the defendant fair notice of the plaintiff’s

claim and the grounds upon which it rests.33




       29
               Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009); FED. R. CIV. P.
12(b)(6).
       30
               Bell Atlantic v. Twombly, 550 U.S. 544, 556 (2007).
       31
            See Quality Foods de Centro America, S.A. v. Latin American
Agribusiness Dev. Corp., S.A., 711 F.2d 989, 994-95 (11th Cir. 1983); see also
Sanjuan v. American Bd. of Psychiatry and Neurology, Inc., 40 F.3d 247, 251
(7th Cir. 1994) (noting that at the pleading stage, the plaintiff “receives the
benefit of imagination”).
       32
              See Lombard’s, Inc. v. Prince Mfg., Inc., 753 F.2d 974, 975 (11th
Cir. 1985), cert. denied, 474 U.S. 1082 (1986).
       33
               See Erickson v. Pardus, 551 U.S. 89, 93 (2007).

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                                   III. Discussion

       A. Section 1983 Claims

       The Defendants first argue that they are entitled to qualified immunity.

Qualified immunity exempts an officer from section 1983 liability under certain

circumstances.34 To be entitled to qualified immunity in the Eleventh Circuit,

an officer must show that he was acting within the scope of his discretionary

authority at the time of the alleged wrongful acts.35 Once the officer has proved

that he was within the scope of his discretionary authority, the Plaintiff must

show that the officer violated “clearly established statutory or constitutional

rights of which a reasonable person would have known.”36 In order to establish

that a reasonable officer would have known of a right, a plaintiff must show

development of law in a “concrete and factually defined context” such that a

reasonable officer would know that his conduct violated federal law.37 Two

questions are central to the qualified immunity defense. First, the Court must




       34
               See Pearson v. Callahan, 555 U.S. 223, 231 (2009).
       35
             Lee v. Ferraro, 284 F.3d 1188, 1194 (11th Cir. 2002). The parties
agree that Reed was acting within the scope of his discretionary authority. Defs.’
Mot. to Dismiss, at 10 n.4; Pl.’s Br. in Opp’n to Defs.’ Mot. to Dismiss, at 16 n.7.
       36
               Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982).
       37
               Jackson v. Sauls, 206 F.3d 1156, 1164-65 (11th Cir. 2000).

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determine whether there was a violation of a constitutional right.38 Second, the

Court must then determine whether the right was clearly established.39

               1. Constitutional Violation

       First, the Court must determine whether the Defendants committed a

constitutional violation.“Claims involving the mistreatment of arrestees or

pretrial detainees in custody are governed by the Fourteenth Amendment’s Due

Process Clause instead of the Eighth Amendment’s Cruel and Unusual

Punishment Clause, which applies to such claims by convicted prisoners.”40 “In

deciding whether force deliberately used against a pretrial detainee is

constitutionally excessive in violation of the Fourteenth Amendment, ‘the


       38
               Hope v. Pelzer, 536 U.S. 730, 736-42 (2002).
       39
               Lee, 284 F.3d at 1194.
       40
               Cottrell v. Caldwell, 85 F.3d 1480, 1490 (11th Cir. 1996). There is
some question as to whether the Fourth Amendment or Fourteenth Amendment
governs this analysis. The Fourth Amendment protects arrestees from excessive
force during an arrest, while the Fourteenth Amendment protects a pretrial
detainee from excessive force. See Howell v. Houston Cty., Ga., No. 5:09-CV-402,
2011 WL 3813291, at *13 (M.D. Ga. Aug. 26, 2011).The Eleventh Circuit has
indicated that “the precise point at which a seizure ends (for purposes of Fourth
Amendment coverage) and at which pretrial detention begins (governed until a
conviction by the Fourteenth Amendment) is not settled in this Circuit.” Hicks
v. Moore, 422 F.3d 1246, 1253 n.7 (11th Cir. 2005). Some confusion exists among
courts as to what constitutional provision applies at different stages of the
criminal justice process. Howell, 2011 WL 3813291 at *13. The Eleventh Circuit
has not provided a clear standard to govern this question in close cases. Id.
However, since the Plaintiff had been in custody for some period of time when
this incident took place, the Court finds that the Fourteenth Amendment should
govern this analysis. See id. at *13-*19 (analyzing a broad range of case law and
determining that the Fourteenth Amendment governed an excessive force claim
by a detainee who was undergoing the intake process at a jail).

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pretrial detainee must show only that the force purposely or knowingly used

against him was objectively unreasonable.’”41

       Objective reasonableness turns on the individual facts and circumstances

of a particular case.42 This determination must be made from the perspective of

a reasonable officer on the scene, and “[a] showing of the officer's state of mind

or subjective awareness that the force was unreasonable is not required in this

analysis.”43 The use of force is reasonable only if “a reasonable officer would

believe that this level of force is necessary in the situation at hand.”44 Several

factors are relevant to this determination, including “the relationship between

the need for the use of force and the amount of force used; the extent of the

plaintiff's injury; any effort made by the officer to temper or to limit the amount




       41
            Shuford v. Conway, 666 F. App’x 811, 815-816 (11th Cir. 2016)
(quoting Kingsley v. Hendrickson, 135 S. Ct. 2466, 2473 (2015)). The standard
previously used by the Eleventh Circuit to determine whether a defendant used
excessive force in violation of the Fourteenth Amendment, which required that
the plaintiff prove that the defendant applied the force maliciously or
sadistically to cause harm, has been abrogated by the Supreme Court’s decision
in Kingsley v. Hendrickson in 2015. In Kingsley, the Supreme Court held that
“a pretrial detainee must show only that the force . . . used against him was
objectively unreasonable.” Kingsley, 135 S. Ct. at 2473.
       42
               Kingsley v. Hendrickson, 135 S. Ct. 2466, 2473 (2015).
       43
               Shuford, 666 F. App’x at 816.
       44
            Lee v. Ferraro, 284 F.3d 1188, 1197 (11th Cir. 2002) (quoting
Willingham v. Loughnan, 261 F.3d 1178, 1186 (11th Cir. 2001)).

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of force; the severity of the security problem at issue; the threat reasonably

perceived by the officer; and whether the plaintiff was actively resisting.”45

       Accepting the Plaintiff’s factual allegations as true, the Court concludes

that Reed’s use of force was objectively unreasonable. According to the Plaintiff’s

allegations, Reed, without warning, forcefully shoved the Plaintiff to the floor

when the Plaintiff was merely touching the cell door window as it closed. Under

the factors provided by the Supreme Court and the Eleventh Circuit as guidance

on this question, the Court concludes that Reed used excessive force when he

shoved the Plaintiff. As to the first factor, the relationship between the need for

the use of force and the amount of force used, the amount of force utilized was

disproportionate to the need for force. The Plaintiff, a 54 year old man who was

not as physically dominant as Reed, was merely touching the window of his cell

door. Even if Reed needed to respond with some type of force to have the

Plaintiff move away from the door, the violent shove that Reed used was out of

proportion with the force needed to resolve the situation.

       Second, Reed made no effort to temper or limit the amount of force used.

Reed never verbally directed the Plaintiff to back away from the door, and did

not begin with a light amount of force. Instead, Reed immediately, and without

warning, forcefully shoved the Plaintiff away from the door. Reed also admitted




       45
              Shuford, 666 F. App’x at 816 (quoting Kingsley v. Hendrickson, 135
S. Ct. 2466, 2473 (2015)).

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that he stepped into the shove so as to add more force.46 According to the

Plaintiff, Reed made no attempt to peacefully resolve the situation before using

force against him. Therefore, this factor weighs in favor of finding a constitu-

tional violation.

       As to the third and fourth factors, under the facts alleged, there was no

severe security problem involved in this incident, and no reasonable threat

existed. Although it may have been necessary for Reed to make the Plaintiff step

away from the closing door, this did not present a serious risk of security to

Reed or the Detention Center. The Plaintiff was merely touching the door,

attempting to get Reed’s attention. Thus, a reasonable officer would not perceive

the threat presented to be serious. Finally, there is no indication that the

Plaintiff was actively resisting. Under the facts alleged, Reed gave the Plaintiff

no warning or instructions at all that the Plaintiff could have resisted in the

first place, nor did the Plaintiff engage in any physical acts that could be

construed as resisting. Instead, Reed immediately shoved the Plaintiff away

from the door without warning. Given these factors, the Court determines that

Reed’s actions were objectively unreasonable and in violation of the Plaintiff’s

Fourteenth Amendment right to be free from excessive force.




       46
               First Am. Compl. ¶ 42.

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               2. Clearly Established Law

       Next, the Court must determine whether this constitutional right was

clearly established. “In this circuit, the law can be ‘clearly established’ for

qualified immunity purposes only by decisions of the U.S. Supreme Court,

Eleventh Circuit Court of Appeals, or the highest court of the state where the

case arose.”47 “This inquiry is limited to the law at the time of the incident, as

‘an official could not be reasonably expected to anticipate subsequent legal

developments.’”48 Although Kinglsey’s objective reasonableness standard

governs the analysis of the existence of a constitutional violation, it does not

govern this Court’s analysis of whether the unlawfulness of Reed’s conduct was

clearly established at the time it occurred, since Kingsley was decided after this

incident occurred.49 “Instead, in order to determine whether the clearly




       47
               Jenkins v. Talladega City Bd. of Educ., 115 F.3d 821, 826 n.4 (11th
Cir. 1997).
       48
             Shuford v. Conway, 666 F. App’x 811, 817 (11th Cir. 2016) (quoting
Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)).
       49
            Jacoby v. Baldwin Cty., 666 F. App’x 759, 765 (11th Cir. 2016)
(“While Kingsley’s objective unreasonableness standard governs the existence
of a constitutional violation, that decision was issued after the restraint chair
incident took place, so it plays no part in our determining whether the
unlawfulness of Rowell and Keers’ conduct was clearly established at the time
it occurred.”); see also Belcher v. City of Foley, 30 F.3d 1390, 1400 n.9 (11th Cir.
1994) (“[Cases] . . . decided after the conduct in this case occurred . . . could not
have clearly established the law at the time of the conduct in this case.”).

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established requirement is met in this case, we look to pre-Kingsley case law,

which applied the old ‘sadistic or malicious’ standard for excessive force.”50

       A constitutional right can be clearly established in three ways: “(1) case

law with indistinguishable facts clearly establishing the constitutional right; (2)

a broad statement of principle within the Constitution, statute, or case law that

clearly establishes a constitutional right; or (3) conduct so egregious that a

constitutional right was clearly violated, even in the total absence of case law.”51

The Plaintiff, admitting that there is no indistinguishable case law on point,

argues that this constitutional right was clearly established under the second

and third methods.52 The Plaintiff also argues that this right is clearly

established under a per se rule for violations of the Eighth and Fourteenth

Amendments.53 The Court agrees that this right was clearly established.

       As to the second method, the Plaintiff has not shown that a broad

principle within the Constitution, statutes, or case law provides the necessary

precedent to clearly establish this right.54 Instead, the Plaintiff only points to



       50
               Jacoby, 666 F. App’x at 765.
       51
            Shuford, 666 F. App’x at 817 (citing Lewis v. City of W. Palm
Beach, 561 F.3d 1288, 1291-92 (11th Cir. 2009)).
       52
               Pl.’s Br. in Opp’n to Defs.’ Mot. to Dismiss, at 17.
       53
               Id.
       54
               See Lewis v. City of W. Palm Beach, Fla., 561 F.3d 1288, 1292 (11th
Cir. 2009) (“Here, case law does not provide the necessary precedent, either
specifically or through broad principles, to clearly establish the right.”).

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the excessiveness and egregiousness of Reed’s conduct, which is relevant to the

third inquiry, not this inquiry. Even assuming that Reed’s conduct was totally

egregious, this argument fails to identify a broad principle that can be discerned

from the Constitution, statutes, and case law that would have put the

Defendants on notice of the unconstitutionality of Reed’s conduct. The Plaintiff

does not identify a broad principle at all that would have put the Defendants on

notice of this right. Therefore, the Plaintiff fails to establish that this right was

clearly established under this second method.

       Consequently, the Plaintiff must utilize the third method for proving that

a right is clearly established. Thus, only if Reed’s conduct was “so egregious and

unacceptable so as to have blatantly violated the Constitution would qualified

immunity be unavailable” to him.55 The Plaintiff’s allegations satisfy this

burden. “[T]o come within this narrow exclusion, ‘plaintiff must show that the

official's conduct was so far beyond the hazy border between excessive and

acceptable force that the official had to know he was violating the Constitution

even without case law on point.’”56 “This standard is met when every reasonable

officer would conclude that the excessive force used was plainly unlawful.”57




       55
               Id.
       56
               Id. (quoting Smith v. Mattox, 127 F.3d 1416, 1419 (11th Cir. 1997)).
       57
               Id.

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       Accepting the Plaintiff’s allegations as true, Reed’s egregious conduct

meets this standard. Reed’s push, which was totally unprovoked, was “so far

beyond the hazy border between excessive and acceptable force” that he must

have known that it was plainly unconstitutional. According to the Plaintiff, the

cell door had already begun to latch closed, and the Plaintiff merely placed his

hands on the window of the cell door to get Reed’s attention. Reed then reopened

the door, and in a fit of anger, violently thrust the Plaintiff toward the floor

without warning.58 Reed then stood over him, falsely claiming that the Plaintiff

had “rushed” him. This conduct was egregious enough and far enough beyond

the “hazy border” between excessive and acceptable force that Reed must have

known that he was violating the Plaintiff’s constitutional rights.59 Reed’s

conduct was “so violent and harsh to be considered an egregious violation of a

constitutional right.”60 The cell door had already latched closed and the Plaintiff

presented no security threat. Any reasonable officer, under the facts alleged,

would conclude that the force used by Reed was plainly unlawful. Therefore,



       58
              Reed’s allegations are supported by a surveillance video recording
of the incident [Doc. 22].
       59
               See Lee v. Ferraro, 284 F.3d 1188, 1199-1200 (11th Cir. 2002)
(concluding that officer who was physically abusive toward non-aggressive
arrestee blatantly violated the Constitution and was not entitled to qualified
immunity); Smith v. Mattox, 127 F.3d 1416, 1419 (11th Cir. 1997) (denying
qualified immunity to officer who broke the arm of an individual complying with
the officer’s orders).
       60
               Lewis, 561 F.3d at 1292.

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since Reed’s conduct was a blatant violation of the Constitution, qualified

immunity is unavailable to him.

       Alternatively, this right was also clearly established under a per se rule

for defeating qualified immunity. Ordinarily, a plaintiff must show both: (1) that

a constitutional or statutory right has been violated, and (2) that this right was

clearly established.61 However, the Eleventh Circuit has provided that, “[f]or

claims of excessive force in violation of the Eighth or Fourteenth Amendments

. . . a plaintiff can overcome a defense of qualified immunity by showing only the

first prong, that his Eighth or Fourteenth Amendment rights have been

violated.”62 The Eleventh Circuit created this rule because the subjective

element required to establish an excessive force violation of the Eighth or

Fourteenth Amendment “is so extreme that every conceivable set of circum-

stances in which this constitutional violation occurs is clearly established to be

a violation of the Constitution.”63

       Therefore, the Plaintiff can overcome a qualified immunity defense if he

shows that Reed’s actions amount to a constitutional violation under the pre-

Kingsley standard. Under the pre-Kingsley standard, a jailor’s use of force




       61
               Fennell v. Gilstrap, 559 F.3d 1212, 1216 (11th Cir. 2009).
       62
               Id. at 1216-17.
       63
               Id. at 1217 (quoting Danley v. Allen, 540 F.3d 1298, 1310 (11th Cir.
2008)).

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violates the Fourteenth Amendment if it “shocks the conscience.”64 The use of

force “shocks the conscience” if it is applied “maliciously or sadistically for the

very purpose of causing harm,” instead of in a good faith effort to maintain

discipline.65 In determining whether force was applied maliciously and

sadistically to cause harm in violation of the Fourteenth Amendment, the

Eleventh Circuit considers the following factors: “a) the need for the application

of force; b) the relationship between the need and the amount of force that was

used; c) the extent of the injury inflicted upon the prisoner; d) the extent of the

threat to the safety of staff and inmates; and e) any efforts made to temper the

severity of a forceful response.”66 And, in considering these factors, the Court

must “give a wide range of deference to prison officials acting to preserve

discipline and security, including when considering decisions made at the scene

of a disturbance.”67

       For similar reasons that Reed’s conduct was so egregious as to have

clearly violated the Constitution, his conduct also “shocks the conscience.” The

Plaintiff’s factual allegations show that Reed did not use this force in a good-

faith effort to maintain or restore discipline, since the Plaintiff did not represent

       64
               Id. at 1217 (quoting Danley v. Allen, 540 F.3d 1298, 1307 (11th Cir.
2008)).
       65
               Bozeman v. Orum, 422 F.3d 1265, 1271 (11th Cir. 2005).
       66
               Fennell, 559 F.3d at 1217 (citing Cockrell v. Sparks, 510 F.3d 1307,
1311 (11th Cir. 2007)).
       67
               Cockrell, 510 F.3d at 1311.

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a threat to security.68 Instead, taking the Plaintiff’s allegations as true, Reed

acted maliciously and sadistically and with the purpose of causing harm to the

Plaintiff. Reed applied force because he was “mad” at the Plaintiff.69 As the

surveillance video shows, the Plaintiff had created no disturbance, and

presented no threat to the security of Reed or the Detention Center, since the

door had already closed. Under these circumstances, no reasonable officer would

have believed that such a use of force was necessary to maintain discipline in

the jail. Instead, taking the Plaintiff’s allegations as true, Reed, angered at the

Plaintiff, applied force against him in an effort to cause harm. Therefore, the

Plaintiff has adequately alleged that Reed acted maliciously and sadistically.

       And, taking the factors listed above into account further supports the

conclusion that Reed’s force was applied maliciously and sadistically. As to the

first two factors, the need for force was low, and the amount of force applied was

disproportionate to that need. The Plaintiff, an older man who was smaller than

Reed, merely touched the window of the cell door as it closed. This presented

little need for the use of force because the Plaintiff’s actions did not represent

a risk of danger to staff or other inmates. As to the third factor, the extent of

injury inflicted, the Plaintiff suffered a broken hip that required a trip to the




       68
               Fennell, 559 F.3d at 1217.
       69
               First Am. Compl. ¶ 60.

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emergency room.70 As to the fourth factor, the extent of the threat to the safety

of staff and inmates, the Plaintiff presented no serious threat to the staff or

other inmates. As the surveillance video shows, the Plaintiff patiently stood by

the cell door, and as it closed, placed his hand on the window. This presented no

real threat to others that would require Reed to act in such a manner. Finally,

as to the fifth factor, Reed made no effort to temper the severity of his forceful

response. According to the Plaintiff, Reed was completely unprovoked, and gave

the Plaintiff no warning before applying force. Reed also made no effort to

peacefully resolve the situation. Instead, he immediately utilized a forceful

shove, and then failed to summon medical attention. Therefore, each of these

factors points to the conclusion that Reed’s conduct shocks the conscience.

       In Cockrell v. Sparks, the Eleventh Circuit applied these factors in a

similar situation and concluded that an officer, who opened a cell door and

shoved a drunk inmate to the floor, used reasonable force under the pre-

Kingsley standard.71 However, in that case, which the Eleventh Circuit noted

was a “close” case, the inmate was drunk, banging on the cell door, and

distracting officers from attending to another inmate who had attempted


       70
             The Eleventh Circuit has noted that this factor “may be outweighed
by the officer’s inability to reasonably anticipate the severity of the injury.”
Fennell, 559 F.3d at 1219. Reed may not have been able to reasonably anticipate
that his conduct would break the Plaintiff’s hip. Regardless, the other “shock the
conscience” factors still weigh in favor of finding a constitutional violation under
this standard.
       71
               Cockrell v. Sparks, 510 F.3d 1307, 1311 (11th Cir. 2007).

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suicide.72 Cockrell is distinguishable because the inmate there, who was loudly

banging on the cell door, had created a disturbance while the officers needed to

deal with the other inmate’s suicide attempt. As the court explained, “[t]hat the

minimal force was used to quiet Cockrell to care for another inmate in need of

medical attention, instead of for some other reason, also weighs against a

finding of excessive force.”73 Unlike the officer in Cockrell, Reed had no

legitimate reason to use force against the Plaintiff, and did not use force in a

good-faith effort to maintain discipline. And, unlike the officer in Cockrell, who

“immediately summoned medical assistance” and thereby “temper[ed] the

severity of [the] forceful response,” Reed never himself summoned medical

attention, and instead stood over the Plaintiff, accusing him of rushing the door.

Thus, since this case is distinguishable from the “close” case presented in

Cockrell, the Court finds that Reed’s actions meet the shock the conscience

standard and the Plaintiff can defeat qualified immunity under this per se rule.

               3. Supervisory Liability

       The Defendants also move to dismiss the Plaintiff’s claim against the

Command Staff Defendants for supervisory liability.74 Under section 1983

“[e]very person who, under color of any statute, ordinance, regulation, custom,



       72
               Id.
       73
               Id. at 1312.
       74
               Defs.’ Mot. to Dismiss, at 21.

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or usage, of any State . . . subjects, or causes to be subjected, any citizen of the

United States . . . to the deprivation of any rights, privileges, or immunities

secured by the Constitution and laws, shall be liable to the party injured.”75 It

“is well established in this circuit that supervisory officials are not liable under

§ 1983 for the unconstitutional acts of their subordinates on the basis of

respondeat superior or vicarious liability.”76 Supervisory liability under section

1983 “occurs either when the supervisor personally participates in the alleged

unconstitutional conduct or when there is a causal connection between the

actions of a supervising official and the alleged constitutional deprivation.”77

       A causal connection may be established when: 1) a “history of
       widespread abuse” puts the responsible supervisor on notice of the
       need to correct the alleged deprivation, and he or she fails to do so;
       2) a supervisor's custom or policy results in deliberate indifference
       to constitutional rights; or 3) facts support an inference that the
       supervisor directed subordinates to act unlawfully or knew that
       subordinates would act unlawfully and failed to stop them from
       doing so.78

The “standard by which a supervisor is held liable in [his] individual capacity

for the actions of a subordinate is extremely rigorous.”79 “The deprivations that



       75
               42 U.S.C. § 1983 (emphasis added).
       76
               Hartley v. Parnell, 193 F.3d 1263, 1269 (11th Cir. 1999) (internal
quotation marks omitted).
       77
               Cottone v. Jenne, 326 F.3d 1352, 1360 (11th Cir. 2003).
       78
               Valdes v. Crosby, 450 F.3d 1231, 1237 (11th Cir. 2006) (citing
Cottone, 326 F.3d at 1360).
       79
               Cottone, 326 F.3d at 1360 (internal quotation marks omitted).

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constitute widespread abuse sufficient to notify the supervising official must be

obvious, flagrant, rampant and of continued duration, rather than isolated

occurrences.”80

       The Plaintiff does not allege that the Command Staff Defendants

personally participated in this incident. Instead, the Plaintiff argues that there

is a causal connection between the Command Staff Defendants and the

Plaintiff’s injury due to their failure to “adequately discipline, supervise, and

train Defendant Reed in the proper use of force with inmates, in controlling his

temper around inmates, and in following the policies of [the Detention Center]

and the Cobb County Sheriff’s Office as well as Georgia law.”81 The Court

concludes that the Plaintiff has sufficiently alleged the existence of this causal

connection between the Command Staff Defendants and the Plaintiff’s injury to

state a claim for supervisory liability under section 1983.

       According to the Plaintiff’s factual allegations, Reed had an extensive

disciplinary history during his employment with the Cobb County Sheriff’s

Office, and the Command Staff Defendants played active roles in this disciplin-

ary history as his supervisors. Reed was the subject of twelve internal affairs




       80
               Brown v. Crawford, 906 F.2d 667, 671 (11th Cir. 1990).
       81
               First Am. Compl. ¶ 165.

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investigations.82 Six of those investigations were determined to be “founded.”83

Three of those investigations involved the use of excessive force.84

       First, the Plaintiff alleges that Reed was the subject of an internal affairs

investigation in 2005. There, according to the Plaintiff, an inmate with a

colostomy bag accused Reed of using excessive force by twisting the inmate’s

waist cuffs so that his colostomy bag ruptured.85 There was no video recording

or eyewitness of this alleged incident.86 This allegation was determined to be

unfounded, and no disciplinary action was taken against Reed.87 Then, in 2006,

the Plaintiff alleges that Reed was the subject of another internal investigation

involving the use of excessive force. There, Reed was booking an inmate into the

Detention Center when the inmate made a comment that angered Reed.88 The

inmate at that time was restrained in waist chain cuffs.89 Reed, angered by the




       82
               Id. ¶ 68.
       83
               Id.
       84
             Id. ¶ 69. One of those allegations of excessive force was determined
to be “unfounded.” Id.
       85
               Id. ¶¶ 72-73.
       86
               Id. ¶ 74.
       87
               Id. ¶¶ 81-82.
       88
               Id. ¶ 84.
       89
               Id. ¶ 85.

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comment, slammed the restrained inmate’s face onto the floor.90 The inmate was

sent to the hospital and received stitches.91 This incident was recorded on

video.92 Reed was found to have violated department policies by using excessive

force, and was given a written reprimand.93

       Next, the Plaintiff alleges that in 2009 the Command Staff Defendants

conducted another internal investigation into the use of excessive force by

Reed.94 This investigation resulted from an incident where Reed attempted to

“slam” a restrained inmate to the ground with a headlock, while that inmate

was chained to a group of other inmates.95 Reed was angry at the inmate for

cursing at him.96 Reed, by slamming the inmate to the ground, pulled the entire

group of inmates back and forth.97 It was ultimately determined that Reed used

excessive force.98 During this investigation, the Command Staff Defendants

reviewed Reed’s entire personnel file, and became aware of his history of losing


       90
               Id. ¶ 87.
       91
               Id. ¶ 88.
       92
               Id. ¶ 89.
       93
               Id. ¶ 90.
       94
               Id. ¶ 132.
       95
               Id. ¶ 145.
       96
               Id. ¶¶ 93, 145.
       97
               Id. ¶ 94.
       98
               Id. ¶¶ 96, 145.

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his temper and using violence against inmates.99 This included reviewing both

the 2005 and 2006 reports of excessive force by Reed.100 The Plaintiff alleges that

Colonel Alder was personally involved in this investigation, and that Chief

Coker, Chief Deputy Beck, and Colonel Bartlett were aware of the

investigation.101 During this investigation, these Command Staff Defendants

were also made aware of several other instances where Reed violated depart-

ment policy.102 Nonetheless, according to the Plaintiff, the Command Staff

Defendants did not terminate Reed or assign him different duties.103 Instead,

they issued a reprimand and required Reed to undergo informal counseling.104

       The Plaintiff further alleges that Reed was the subject of yet another

internal affairs investigation in 2014. There, Reed was alleged to have engaged

in conduct unbecoming of an officer.105 This conduct included a “pattern” of use

of “racial epithets, profanity, and threats towards inmates,” along with Reed’s




       99
               Id. ¶¶ 134-35.
       100
               Id. ¶ 135.
       101
               Id. ¶ 135.
       102
               Id. ¶ 136.
       103
               Id. ¶¶ 137-38.
       104
               Id. ¶ 139.
       105
               Id. ¶¶ 142-146.

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“continued propensity to los[e] his temper with inmates.”106 During this

investigation, Colonel Prince, Sheriff Warren, Chief Deputy Beck, Colonel

Bartlett, and Colonel Craig reviewed Reed’s entire personnel file, including the

previous incidents involving Reed using excessive force and losing his temper.107

After this investigation, the Command Staff Defendants merely issued a verbal

reprimand to Reed.108 They did not terminate Reed or assign him different

duties.109 Instead, they allowed him to continue working as a jailor in the

Detention Center.110

       And, in May 2015, Reed was once again the subject of an internal affairs

investigation. This investigation involved allegations of favoritism toward

inmates and violations of department policy.111 Specifically, Reed allowed

segregation inmates to remain outside of segregation longer than Detention

Center policy allowed, and also allowed a favored inmate out of his cell in

violation of Detention Center policy.112 These actions resulted in a fight between


       106
               Id. ¶ 155. This conduct included a wide range of profane language
and inappropriate conduct directed at both inmates and a nurse at the
Detention Center. See id. ¶ 102.
       107
               Id. ¶¶ 143-45.
       108
               Id. ¶ 149.
       109
               Id. ¶ 147.
       110
               Id. ¶ 148.
       111
               Id. ¶ 152.
       112
               Id. ¶ 117.

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segregation inmates.113 Colonel Craig, Colonel Prince, Chief Deputy Beck, and

Sheriff Warren participated in the investigation, and Sheriff Warren conducted

the hearing.114 Once again, these Command Staff Defendants reviewed Reed’s

entire personnel file, including the previous internal affairs investigations.115 On

May 18, 2015, ten days before the incident underlying this action occurred, the

Command Staff Defendants suspended Reed for 16 hours for violating these

policies.116 The Plaintiff alleges that a number of other internal affairs

investigations into Reed’s conduct were conducted over the course of his

employment.117

       These allegations are sufficient to state a claim for supervisory liability

under section 1983. Taken together, these allegations show that Reed exhibited

a history of widespread abuse that should have put the Command Staff

Defendants on notice of the need to correct the alleged deprivations.118 The

Plaintiff alleges that each of the Command Staff Defendants participated in

internal affairs investigations into Reed’s conduct, where they should have


       113
               Id. ¶ 118.
       114
               Id. ¶ 119.
       115
               Id. ¶¶ 153-54.
       116
             Id. ¶ 116. Reed’s suspension was scheduled for June 1-2, 2015.
However, he never served his scheduled suspension because the incident
involving the Plaintiff occurred first, resulting in Reed’s termination. Id. ¶ 120.
       117
               Id. ¶¶ 110-20.
       118
               See Cottone v. Jenne, 326 F.3d 1352, 1360 (11th Cir. 2003).

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become aware of Reed’s extensive disciplinary history of violence toward

inmates. According to the Plaintiff, the supervisors involved in each of those

investigations familiarized themselves with Reed’s personnel file, including his

disciplinary history. Accepting these allegations as true, the Command Staff

Defendants knew of the danger that Reed presented, but took no action to

appropriately supervise or discipline him. Instead, the Command Staff

Defendants provided Reed with verbal and written reprimands, and never

assigned him different duties. According to the Plaintiff’s allegation, the

Plaintiff’s injury was not an isolated incident, but instead part of a pattern of

abuse by Reed, of which the Command Staff Defendants were aware.119 The

Plaintiff alleges that all of the Command Staff Defendants were involved in

these internal affairs investigations in varying capacities, and each of them

failed to take action to adequately discipline, supervise, or train Reed.120 This


       119
             See Valdes v. Crosby, 450 F.3d 1231, 1244 (11th Cir. 2006)
(“[I]nmate abuse at the hands of guards was not an isolated occurrence, but
rather occurred with sufficient regularity as to demonstrate a history of
widespread abuse at FSP.”).
       120
             First Am. Compl. ¶¶ 162-65. There may be some question as to
whether each of the individual Command Staff Defendants actually possessed
the authority to train, discipline, terminate, or otherwise supervise Reed. If an
individual Defendant did not possess that authority over Reed, the causal
connection between that Defendant’s failure to act and the Plaintiff’s injury
would be broken. However, the Plaintiff has alleged that each Command Staff
Defendant failed to adequately discipline, supervise, and train Reed. At this
stage of the proceedings, where the Court accepts the Plaintiff’s factual
allegations as true, the Court finds that it is appropriate to deny the motion to
dismiss. This question will be more appropriate to address at the summary
judgment phase.

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failure to act by the Command Staff Defendants constitutes the necessary causal

connection between the Command Staff Defendants and the Plaintiff’s injury to

state a claim for supervisory liability.121

       Furthermore, the Command Staff Defendants are not entitled to qualified

immunity on this issue. The Eleventh Circuit has provided that it is clearly

established “that a supervisor could be held responsible under 42 U.S.C. § 1983

for constitutional violations committed by subordinates if the supervisor

personally participated in the constitutional violation or if there was a causal

connection between the supervisor's actions and the alleged constitutional




       121
               See id. at 1239-44 (concluding that supervising officer’s knowledge
of widespread instances of abuse and excessive force at a prison was enough to
create the causal connection needed for supervisory liability); see also McCreary
v. Parker, 456 F. App’x 790, 793 (11th Cir. 2012) (concluding that supervisor’s
“alleged knowledge of the increasing frequency of inmate-on-inmate violence,
Judge Edelstein’s report, and allegations that inmates had repeatedly
complained to Parker about being quartered with dangerous inmates and
Parker’s failure to correct same notwithstanding his ability to do so” was
sufficient to impose supervisory liability); Danley v. Allen, 540 F.3d 1298, 1315
(11th Cir. 2008) (“This Court has long recognized that supervisors are liable for
the excessive force and the deliberate indifference of their employees where the
supervisors received numerous reports of prior misconduct of that nature by
those same employees and did nothing to remedy the situation.”); cf. Cottone v.
Jenne, 326 F.3d 1352, 1361-62 (11th Cir. 2003) (concluding that the plaintiffs
did not establish the necessary causal connection when the complaint failed to
allege that the supervisors had any knowledge of the subordinate officers’
“failure to monitor inmates” or that the subordinate officers “had any past
history, or even one prior incident, of failing to monitor inmates” and that the
“supervisors were not on any notice of [the subordinate officers’]
unconstitutional conduct so as to put the supervisors on notice of the need to
correct or to stop the[ir] conduct . . . by further training or supervision”).

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deprivation.”122 Accepting the Plaintiff’s allegations as true, Reed’s extensive

history of using excessive force and violence toward inmates was sufficient to

put the Command Staff Defendants on notice of his misconduct and was

sufficiently blatant to require them to act.123 Therefore, since the Plaintiff has

alleged that the Command Staff Defendants violated his clearly established

constitutional rights, they are not entitled to qualified immunity.124

       B. State Law Claim

       Next, the Defendants move to dismiss the Plaintiff’s state law claim. In

Count II, the Plaintiff asserts claims for assault and battery under O.C.G.A. §§

51-1-13 and 51-1-14 against Reed.125 The Defendants move to dismiss these

claims, arguing that the claims are barred by sovereign immunity and official

immunity.126

       122
               Williams v. Santana, 340 F. App’x 614, 617 (11th Cir. 2009).
       123
               See id. at 618 (“Taking Williams's allegations as true, as we must
do at this stage of the proceedings, the numerous prior incidents involving
Barazal’s use of force were sufficient to put Parker on notice of misconduct that
was sufficiently ‘obvious, flagrant, rampant and of continued duration’ to require
him to act.”).
       124
               Id. at 618 (“Williams alleges that Parker failed to respond to these
prior incidents of misconduct by providing Barazal with increased training or
supervision; thus, Williams has alleged the necessary causal connection to hold
Parker liable in his supervisory capacity. Because Barazal has alleged that
Parker violated his clearly established constitutional rights, the district court
did not err in denying qualified immunity at the motion to dismiss stage of the
proceedings.”).
       125
               First Am. Compl. ¶¶ 126-28.
       126
               Defs.’ Mot. to Dismiss, at 23-27.

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       First, the Defendants argue that state law claims brought against Reed

in his official capacity are barred by sovereign immunity.127 Under Georgia law,

“the constitutional doctrine of sovereign immunity forbids [Georgia] courts to

entertain a lawsuit against the State without its consent.”128 This sovereign

immunity extends to suits against the state, its departments and agencies, and

its officers acting in their official capacities.129 “The sovereign immunity

provided in the Georgia Constitution to the state or any of its departments or

agencies also applies to Georgia’s counties.”130 “Sovereign immunity is not an

affirmative defense that the governmental defendants must establish.”131

Rather, the Plaintiff has the burden of establishing that sovereign immunity

does not bar his claim.132 The Plaintiff argues that the state has waived its

sovereign immunity in this context through the Georgia bond statutes, and that

“he should be permitted to proceed against the bond of the sheriff and his

deputies.”133


       127
                Id. at 24.
       128
                Lathrop v. Deal, 301 Ga. 408 (2017).
       129
                Id.
       130
              Presnell v. Paulding Cty, Ga., 454 F. App’x 763, 769 (11th Cir.
2011) (citing Gilbert v. Richardson, 264 Ga. 744, 747 (1994)).
       131
                Scott v. City of Valdosta, 280 Ga. App. 481, 484 (2006).
       132
                See id. (“[Sovereign Immunity] is a privilege, subject to waiver by
the State, and which the party seeking to benefit from the waiver must show.”).
       133
                Pl.’s Br. in Opp’n to Defs.’ Mot. to Dismiss, at 27-28.

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       O.C.G.A. § 15-16-5 states that sheriffs must provide a $25,000 bond

“conditioned for the faithful accounting for all public and other funds or property

coming into the sheriffs’ or their deputies’ custody, control, care, or

possession.”134 Similarly, O.C.G.A. § 15-16-23 states that each deputy must

provide a $5,000 bond “conditioned upon the faithful accounting for all public

and other funds or property coming into the deputy’s custody, control, care, or

possession.”135 These statutes waive sovereign immunity for the official actions

of a sheriff when sued on the sheriff’s bond.136 In such a situation, the plaintiff’s

recovery is limited to the amount of the applicable bond.137 And, “a bond given

under the authority of a statute ‘can provide no more protection than that which

is required by [the] statute.’”138 Thus, actions against a sheriff’s bond under

these statutes are limited to those dealing with the sheriff’s faithful accounting

of public funds and other funds or property in his or her possession. The state

has not waived sovereign immunity as to other types of actions brought against

sheriffs and their deputies in their official capacities. For this reason, the

Plaintiff’s state law claim for assault and battery against Reed in his official



       134
               O.C.G.A. § 15-16-5.
       135
               O.C.G.A. § 15-16-23.
       136
             Pelka v. Ware Cty., Ga., CV 516-108, 2017 WL 4398652, at *5 (S.D.
Ga. Sept. 29, 2017) (citing Cantrell v. Thurman, 231 Ga. App. 510, 514 (1998)).
       137
               Id. (citing Meeks v. Douglas, 112 Ga. App. 742, 745 (1965)).
       138
               Lord v. Lowe, 318 Ga. App. 222, 226 (2012).

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capacity is barred by sovereign immunity because it does not involve the faithful

accounting of public funds or property.

       The Defendants next argue that the Plaintiff’s state law claim against

Reed in his individual capacity is barred by official immunity.139 Under Georgia

law, “[i]ndividual government employees are shielded by official immunity from

damages suits unless the plaintiff can establish that the official negligently

performed a ministerial act or performed a discretionary act with malice or an

intent to injure.”140 “Official immunity . . . is applicable to government officials

and employees sued in their individual capacities.”141

       The parties agree that Reed was performing a discretionary act.

Therefore, the Plaintiff will need to show actual malice to overcome official

immunity.142 “In the context of official immunity, ‘actual malice requires a

deliberate intention to do wrong and denotes express malice or malice in fact.’”143

“Actual malice requires more than harboring bad feelings about another.”144

“While ill will may be an element of actual malice in many factual situations, its



       139
               Defs.’ Mot. to Dismiss, at 25-27.
       140
               Glass v. Gates, 311 Ga. App. 563, 574 (2011).
       141
               Stone v. Taylor, 233 Ga. App. 886, 888 (1998).
       142
               Merrow v. Hawkins, 266 Ga. 390, 391 (1996).
       143
           Peterson v. Baker, 504 F.3d 1331, 1339 (11th Cir. 2007) (quoting
Adams v. Hazelwood, 271 Ga. 414 (1999)).
       144
               Adams v. Hazelwood, 271 Ga. 414, 415 (1999).

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presence alone cannot pierce official immunity; rather, ill will must also be

combined with the intent to do something wrongful or illegal.”145 “[M]alice in this

context means badness, a true desire to do something wrong.”146 And, “‘actual

intent to cause injury’ means ‘an actual intent to cause harm to the plaintiff, not

merely an intent to do the act purportedly resulting in the claimed injury.’”147

The Supreme Court of Georgia has noted that an officer who uses force

intentionally and without justification acts with the actual intent to cause

injury.148

       The Plaintiff’s allegations meet this burden. As discussed above, Reed

applied force against the Plaintiff maliciously and sadistically, and not in a good

faith effort to maintain security at the Detention Center. Reed, who was mad at

the Plaintiff, shoved him intentionally and without justification. This push was

unprovoked and unjustified. Thus, under Georgia law, he acted with ill will and

the intent to cause an injury.149 The Plaintiff has adequately alleged that Reed




       145
               Id.
       146
               Peterson, 504 F.3d at 1339.
       147
               Id. (quoting Kidd v. Coates, 271 Ga. 33 (1999)).
       148
               Kidd v. Coates, 271 Ga. 33 (1999) (quoting Gardner v. Rogers, 224
Ga. App. 165, 169 (1996)).
       149
               Id.

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acted with actual malice, and Reed is not entitled to official immunity as to the

Plaintiff’s state law claim.150

                                     IV. Conclusion

         For the reasons stated above, the Defendants’ Motion to Dismiss [Doc. 24]

is DENIED.

         SO ORDERED, this 18 day of January, 2018.



                                      /s/Thomas W. Thrash
                                      THOMAS W. THRASH, JR.
                                      United States District Judge




         150
                  See, e.g., Tabb v. Veazey, No. 1:05-cv-1642, 2007 WL 951763, at *12
(N.D. Ga. Mar. 28, 2007) (concluding that an officer acted with actual malice
when he hit the plaintiff with the butt of a handgun several times before placing
him in handcuffs).

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